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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF NORTH DAKOTA


PHOENIX CAPITAL GROUP HOLDINGS, LLC,
                                                Case No. 1:23-cv-00209
                            Plaintiff,
      v.

INCLINE ENERGY PARTNERS, L.P.,

                            Defendant.



                 PLAINTIFF’S REPLY IN SUPPORT OF
           MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
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I.      INTRODUCTION

        The question raised by this Motion is simply whether Phoenix should be allowed to file a

first amended complaint now, at the procedural outset of this case, before the Court has issued

any substantive rulings or set a case scheduling order. The answer is plainly yes, under the

permissive standard set forth in Rule 15(a)(2) which requires that “[a]mendments should be

allowed with liberality.” Chestnut v. St. Louis County, 656 F.2d 343, 349 (8th Cir. 1981). That

is particularly true here, where the amendments add claims and parties at the earliest stage of

litigation to ensure that the full dispute regarding the Incline Entities’ conduct and resulting harm

to North Dakotans and Phoenix, is determined on the merits.

        Incline does not want its anticompetitive and tortious conduct examined through

discovery and trial in this action. But Incline’s aversion to being held accountable in a North

Dakota court is not, of course, grounds to deny leave to amend. Denial is only appropriate in

limited circumstances where the opposing party shows undue delay, unfair prejudice, or futility

(i.e. that the new claims are “clearly frivolous”). Incline has not met—and cannot meet—its

burden to make such a showing. Incline’s opposition brief improperly invokes extrinsic

evidence to make premature (and incorrect) arguments regarding the ultimate likelihood of

success of Phoenix’s claims, misapplies the Rule 15(a)(2) and Rule 9(b) standards, and attempts

to distract with other meritless arguments and irrelevant asides. Phoenix’s request to file a first

amended complaint satisfies the governing criteria and should be granted.

II.     DISCUSSION

        Eighth Circuit courts apply Rule 15(a)(2) to liberally permit amendments—both to add

new parties and to add new claims. See Dkt. 31 at 12-14 (collecting cases). It is the law in this

Circuit that leave to amend “should be granted” except in rare circumstances where there is “a

good reason for denial, such as undue delay, bad faith, or dilatory motive, repeated failure to cure

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deficiencies by amendments previously allowed, undue prejudice to the non-moving party, or

futility of the amendment.” Becker v. Univ. of Neb. at Omaha, 191 F.3d 904, 907-08 (8th Cir.

1999) (emphasis added). The rationale underlying this permissive standard is to “[a]fford[]

parties an opportunity to test their claim[s] on the merits” rather than dismissing them early.

First Int’l Bank & Trust v. Oasis Petroleum N. Am. LLC, 587 F. Supp. 3d 896, 899 (D.N.D.

2020). In opposing Phoenix’s request, Incline seeks an outlier order that would run directly

counter to Rule 15(a)(2) and this Circuit’s prevailing practice and rationale.

       A.      Phoenix’s Request for Leave is Timely and Risks No Unfair Prejudice

       Incline asserts that Phoenix has somehow “delayed, prejudicially” before seeking leave to

amend. Opp. (Dkt. 37) at 7. Nonsense. This is Phoenix’s first request to amend, timely made

while this case is in its procedural infancy. The Court has not yet issued a scheduling order and

there is no deadline to amend pleadings, much less a trial date. The Court has made no

substantive rulings on the sufficiency of Phoenix’s pleadings, much less on the merits of any

claims. The parties have not conducted a Rule 26(f) conference or commenced discovery. There

has been no delay, by any reasonable interpretation of that term, much less “undue delay.”

       In any event, “[d]elay alone is not reason in and of itself to deny leave to amend; the

delay must have resulted in unfair prejudice to the party opposing amendment.” Roberson v.

Hayti Police Dep’t, 241 F.3d 992, 995 (8th Cir. 2001). “The burden of proof of prejudice is on

the party opposing amendment.” Sanders v. Clemco Indus., 823 F.2d 214, 217 (8th Cir. 1987).

Incline does not—and cannot—meet this burden. The only purported “prejudice” Incline

identifies is the unremarkable fact that leave to amend would “moot” the prior briefing on

Incline’s motions to dismiss. Opp. at 7. But previously briefing a motion to dismiss does not

constitute cognizable prejudice. Courts routinely grant leave to amend while fully briefed

motions to dismiss are pending. See, e.g., Connie E. Lee Living Trust v. Lebenthal, 2021 WL
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27237, at *3 (D.N.D. Jan. 4, 2021) (denying motion to dismiss and granting leave to amend);

Schoeder Fam. LLLP v. Adams Cnty., 2017 WL 11249459, at *4-5 (D.N.D. Mar. 28, 2017)

(denying motion to dismiss and granting motion for leave to amend filed while the motion to

dismiss was fully briefed and pending). Incline has not shown prejudice or undue delay.

       B.      Phoenix’s Amendments are Not Futile

       Incline spends the bulk of its opposition arguing that Phoenix’s proposed amendments are

purportedly “futile.” Opp. at 8-20. What Incline appears to be saying, however, is it does not

believe Phoenix will ultimately succeed on the merits of its claims. But “[l]ikelihood of success

on the new claim or defenses is not a consideration for denying leave to amend unless the claim

is clearly frivolous.” Becker, 191 F.3d at 908 (emphasis added); Weslease 2018 Operating LP v.

640Water, LLC, 2021 WL 6805680, at *2 (D.N.D. Sept. 7, 2021) (leave to amend under Rule

15(a)(2) “should only be denied on the merits if it asserts clearly frivolous claims or defenses”)

(emphasis added); Daniels v. Anderson, 2003 WL 21715350, at *3 (D.N.D. July 22, 2003)

(same). Incline has not met its burden of proving that Phoenix’s claims, as pled in the Amended

Complaint, are “clearly frivolous” such that granting leave would be futile.

               1.      Phoenix’s Antitrust Claims are Not Futile

       Phoenix’s antitrust claims are properly pled and are far from “frivolous.” They are based

on Incline’s multi-faceted anticompetitive campaign to prevent Phoenix from becoming a

competitive threat to Incline in the relevant market. The Eighth Circuit has found such conduct

to be barred by the antitrust laws. Int’l Travel Arrangers, Inc. v. Western Airlines, Inc., 623 F.2d

1255, 1268 (8th Cir. 1980). The Court should grant leave to Phoenix leave to assert its claims.

                       a.     Phoenix’s Antitrust Claims are Properly Pled

       As the Supreme Court has explained, it is a misapplication of antitrust law for a court to

treat a plaintiff’s allegations of anticompetitive conduct “as if they were … completely separate”

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by “tightly compartmentalizing the various factual components and wiping the slate clean after

scrutiny of each.” Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 698-99

(1962). Instead, alleged conduct must always be analyzed as a whole. Phillip E. Areeda &

Herbert Hovenkamp, Antitrust Law ¶ 310c7 (4th and 5th eds. 2024). Incline’s anticompetitive

campaign against Phoenix has many tentacles, most of which do not involve fraud. See, e.g.,

Dkt. 30-1, ¶¶ 54-56 (pressuring EnergyNet to stop doing business with Phoenix to “make it more

difficult for Ferrari to continue doing business”); id. ¶¶ 57-59 (conspiring with convicted felon

for “Online AF Campaign” involving two websites disparaging Mr. Ferrari and Phoenix and

SEO manipulation to artificially manipulate web traffic); id. ¶¶ 64-67 (disparaging Phoenix to

North Dakota rights holders to dissuade them from closing deals with Phoenix); id. ¶¶ 71-98

(thwarting Phoenix’s financing efforts with FIBT and others). Rule 9(b)’s pleading standard is

inapplicable to the overall anticompetitive scheme alleged in the proposed amended complaint.

       While some aspects of Incline’s anticompetitive campaign certainly involve fraud, the

amended complaint sufficiently alleges the who, what, where, when, and how of the specific

instances known to Phoenix to satisfy Rule 9(b). See, e.g., Dkt. 30-1, ¶¶ 87-96 (alleging Mr.

Francis called and emailed Joel Brown at FIBT on May 5, 2022 and told him falsehoods

concerning Phoenix, including that it was being run by a “convicted criminal”);1 see also id.

¶¶ 64-68 (providing details of statements made to Bakke family disparaging Phoenix). Phoenix

further alleges that these examples are part of the Incline Entities’ broader campaign, the full



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 Incline’s opposition makes the same false statement that it (and its manager Mr. Francis) has
maliciously published for years—i.e., that Phoenix’s current CEO, Adam Ferrari, is purportedly
“a felon.” Opp. at 1. Not true. He was never convicted of any crime, felony or otherwise. The
charges to which Incline misleadingly refers (Opp. at 1, n.3) were dismissed with prejudice.
After weighing the stress and expense of proving his innocence at trial, Mr. Ferrari accepted a
plea agreement because it allowed him to withdraw his plea of guilty, have the charge dismissed
with prejudice, and have his record remain entirely clean of any criminal conviction.
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scope and details of which are still unknown to Phoenix. See, e.g., id. ¶¶ 60, 63, 67, 100. By

alleging Incline’s systematic anticompetitive campaign, Phoenix has more than satisfied the

requirements of Rule 9(b) to the extent it applies. See, e.g., State Farm Mutual Auto. Ins. Co. v.

Healthcare Chiropractic Clinic, Inc., 2015 WL 6445324, at *6 (D. Minn. Oct. 23, 2015) (where

plaintiff alleges a “systematic practice” of conduct over extended period, it “need not allege the

specific details of every fraudulent claim”); see also United States ex rel. Roop v. Hypoguard

USA, Inc., 559 F.3d 818, 822 (8th Cir. 2009) (under Rule 9(b) the complaint “must provide some

representative examples of [the] alleged fraudulent conduct”) (emphasis altered).

                       b.      Market Definition is an Issue of Fact Not Properly Resolved on a
                               Motion to Amend

       In its attempt to argue that Phoenix’s antitrust claims are futile, Incline argues that

Phoenix has failed to properly allege a relevant market. See Opp. at 11-20. But Incline ignores

Phoenix’s detailed factual allegations regarding the market at issue, which the Court must credit

at this stage of the case. See Fed. R. Civ. P. 12(b); Data Mfg, Inc. v. United Parcel Service, Inc.,

557 F.3d 849, 851 (8th Cir. 2008) (“The factual allegations of a complaint are assumed true and

construed in favor of the plaintiff[.]”). Instead, Incline improperly points to purported evidence

outside of the pleadings. These materials are improper for the Court to consider on a motion to

dismiss, much less a motion to amend. See Fed. R. Civ. P. 12(d) (“When matters outside of the

pleadings are presented and not excluded by the trial court,” a Rule 12(b)(6) motion “must be

treated as a motion for summary judgment.”); Carter v. Stanton, 405 U.S. 669, 671 (1972) (per

curiam); Gibb v. Scott, 958 F.2d 814, 816 (8th Cir. 1992).

       Incline’s attempt to invoke judicial notice to disguise its reliance on extrinsic references

fails. A judicially noticed fact must be one “not subject to reasonable dispute” and a public

record may only be noticed to establish its existence but not for “the truth of the documents’


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contents.” Graham v. Catamaran Health Sols., LLC, 940 F.3d 401, 405 n.1 (8th Cir. 2017); Fed.

R. Evid. 201(b). But Incline offers these materials for their truth. First, Incline’s materials (and

the conclusions they urge the Court draw therefrom) are highly disputed and drive at market

definition—a classic issue of fact—and cannot be judicially noticed. Bathke v. Casey’s Gen.

Stores, Inc., 64 F.3d 340, 345 (8th Cir. 1995) (“Antitrust claims often rise or fall on the

definition of the relevant market.”); see also Morgenstern v. Wilson, 29 F.3d 1291, 1296 (8th

Cir. 1994) (same). Second, even if Incline’s materials can be judicially noticed (they cannot),

they are irrelevant because the Court cannot even consider these materials for the truth of their

contents in assessing the validity of Phoenix’s antitrust claims. Graham, 940 F.3d at 405; Par v.

Wolfe Clinic, P.C., 70 F.4th 441, 448 (8th Cir. 2023) (“Courts are reluctant to dismiss antitrust

complaints before the parties have had an opportunity to fully conduct discovery.”).

                       c.      Incline Ignores Phoenix’s Attempted Monopolization Claim

       Incline completely fails to address Phoenix’s well-pled attempted monopsonization

claim. Unlike a claim for actual monopsonization, a claim for attempted monopsonization only

requires (1) intent to monopsonize a market, (2) exclusionary conduct, and (3) a dangerous

probability of success. Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 454-56 (1993)

(reciting attempted monopolization elements, which mirror attempted monopsonization).

Phoenix’s amended complaint properly pleads factual allegations satisfying all three elements.

See Dkt. 30-1, ¶¶ 48-106. Incline does not address this claim outside of its improper arguments

regarding market definition (which should be ignored, as discussed supra). See Opp. at 11-20

(improperly citing extrinsic evidence in debating market definition). Incline’s failure here is

unsurprising—there is no basis to exclude Phoenix’s attempted monopsonization claims at this




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stage2 and leave to amend should be granted.

                2.      Phoenix’s N.D.C.C. Claim for Unlawful Sales/Advertising Practices is
                        Not Futile.

         Incline asserts that Phoenix’s claim under N.D.C.C. § 51-15-01 et seq, is futile for two

reasons. First, it contends Phoenix fails to adequately plead the claim under Rule 9(b). See Opp.

at 9-10. This argument fails here, just as it does with the antitrust claims. See supra Section

II(B)(1)(a). Phoenix identified a known example of Incline’s deceptive conduct towards mineral

rights owners and alleged it to be part of a broader, systematic campaign of deception. See Dkt.

30-1, ¶¶ 63-67, 118-120; see also Roop, 559 F.3d at 822; State Farm, 2015 WL 6445324, at *6.

Second, Incline claims its deceptive practices are not actionable because its acquisition and

advisement services are purportedly “provided for free.” Opp. at 8. The extent to which Incline

receives compensation for those services, and in what form, is a factual dispute, which is not

appropriate for resolution at the pleadings stage. Incline’s futility argument should be rejected.

III.     CONCLUSION

         Phoenix respectfully requests leave to file its Amended Complaint (Dkt. 30-1).

Dated: September 3, 2024               By:      /s/ Ronald H. McLean

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  Even Incline’s argument that Phoenix possesses a similar share of the proposed relevant market
falls flat. Attempted monopsonization focuses on efforts to exclude competitors rather than
actual market power. Spectrum Sports, 506 U.S. at 454-56. Thus, Phoenix’s ownership stake in
the relevant market is irrelevant to this inquiry. Id.
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